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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

NOVO NORDISK INC. and NOVO                       )
NORDISK A/S,                                     )
                                                 )
                        Plaintiffs,              )
                                                 )
                v.                               )   C.A. No. 17-227 (JFB) (SRF)
                                                 )
TEVA PHARMACEUTICALS USA, INC.,                  )
                                                 )
                        Defendant.               )

     STIPULATION TO FURTHER AMEND THE SCHEDULING ORDER AND
   WITH RESPECT TO SAMPLES AND ADMISSIBILITY OF CERTAIN RECORDS

        IT IS HEREBY STIPULATED by the parties, subject to the Court’s approval, that:

        1.      The Court’s Rule 16 Scheduling Order (D.I. 17), as previously amended, is

further hereby amended as follows:

                     Action Item                       Scheduled Date               New Date

Opening Expert Reports (including Plaintiffs’
                                                         July 13, 2018             July 27, 2018
Secondary Indicia opinions)

Rebuttal Expert Reports (including Defendant’s
                                                       August 24, 2018        September 7, 2018
Secondary Indicia opinions)

Close of Expert Discovery                              October 12, 2018       October 19, 2018

Plaintiffs Provide to Defendant a Draft Joint
                                                       October 26, 2018       November 6, 2018
Pretrial Order

The remaining deadlines in the Court’s Scheduling Order, including the pre-trial conference and

the trial date, remain in effect.

        IT IS FURTHER STIPULATED by the parties, subject to the Court’s approval, that:
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       2.      The sample devices produced by Teva Pharmaceuticals USA, Inc. (“Teva”)

bearing bates numbers TEVASAMPLE001 – TEVASAMPLE010 are representative of the

device to be used with Teva’s liraglutide ANDA product.

       3.      The sample devices produced by Novo Nordisk Inc. and Novo Nordisk A/S

bearing bates numbers NNVICT04930807 – NNVICT04930820 are representative of the device

used with Victoza®.

       4.      Teva will not object to the admissibility of any document produced in this matter

bearing bates numbers TEVALIRA00000001-TEVALIRA00009598, or any other final ANDA

document produced by Teva.

AGREED AND STIPULATED TO:

MORRIS, NICHOLS, ARSHT & TUNNELL LLP               SHAW KELLER LLP

/s/ Maryellen Noreika                              /s/ Karen E. Keller

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Attorneys for Plaintiffs                           Attorneys for Defendant


SO ORDERED this ____ day of June, 2018.



________________________________________
UNITED STATES MAGISTRATE JUDGE




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